EDITH G. GOLDWASSER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Goldwasser v. CommissionerDocket No. 103309.United States Board of Tax Appeals47 B.T.A. 445; 1942 BTA LEXIS 686; August 5, 1942, Promulgated *686  1.  Where stock of B corporation was exchanged for stock of C corporation, pursuant to a plan which contemplated the transfer of the assets of B to a subsidiary of C and the dissolution of B, the stock of C corporation was not stock of a corporation "a party to a reorganization" and the gain realized by a stockholder of B in the exchange is taxable.  2.  Fair market value of C stock, and length of time the B stock was held by petitioner, determined.  3.  Value of portion of C stock issued in name of petitioner but immediately transmitted by her to creditors of B for services rendered by them to it, and the accumulated dividends thereon, held improperty included in income of petitioner.  Roswell Magill, Esq., and Clifford H. Domke, Esq., for the petitioner.  Thomas H. Lewis, Jr., Esq., for the respondent.  MELLOTT*446  This proceeding involves a deficiency in income tax for the calendar year 1936 in the amount of $226,041.91.  Stated generally, the principal issue is whether petitioner realized a taxable profit through the exchange of shares of stock in one corporation for shares of stock in another and if so the amount thereof.  Subsidiary*687  questions require determination of the holding period of some of the stock which was exchanged and whether respondent erred in including in petitioner's gross income the value of, and dividends on, some of the shares turned over to others.  FINDINGS OF FACT.  Petitioner, a resident of New York City, filed her income tax return for the calendar year 1936 with the collector of internal revenue for the third district of New York.  It was made on a cash basis.  The correct names of the various corporations to which reference will hereinafter be made are shown in the footnote. 1 In the excerpts from exhibits the names adopted for present purposes will be used.  In July 1931 petitioner's husband, I. Edwin Goldwasser (hereinafter referred to as Goldwasser) received an offer of employment as president of B.E. at a salary of $30,000 a year plus an unspecified amount of common*688  stock of that company to be given to him.  B.E. was engaged in the factoring business.  Goldwasser, who was then employed by Factors, a wholly owned subsidiary of C.I.T., accepted the offer in July 1931, resigned his position with Factors on October 15, 1931, and on that date became president of B.E.  Toward the end of the year 1931 he received certificates of the common stock of B.E. for 3,436 shares, which stock, at that time, did not have any value.  He gave the stock to petitioner on June 3, 1936, and at about the same time she purchased 7,673.1 shares of the same kind of stock at a cost of $38,365.50.  On and prior to September 18, 1936, C.I.T. owned all of the stock of Factors, Factors owned all of the stock of Emmerich, and Factors, Emmerich, and B.E. were all engaged in the same type of business.  Prior to September 18, 1936, negotiations were begun between B.E., its stockholders, and C.I.T. for the reorganization of B.E.  Goldwasser, president of B.E., represented it and petitioner in the negotiations.  Haiblum, attorney for B.E. and for Bachmann Co., the latter owning most of the first preferred stock of B.E., and Goldblatt, an accountant, were consulted as to details. *689  As a result of the negotiations an agreement embodying a plan of reorganization was entered into between C.I.T. qnd the stockholders of B.E. on September *447  18, 1936, the agreement being signed on behalf of petitioner by Haiblum, who, on September 4, 1936, had been given a general power of attorney by petitioner "to sign and accept any proposal of C.I.T. in connection with the proposed reorganization of B.E. * * * and to deliver all * * * [her] common stock to C.I.T." The agreement of September 18, 1936, provided that C.I.T. would acquire all of the authorized, issued, and outstanding stock of B.E., consisting of three classes of preferred stock aggregating 29,125.13 shares and 11,452 shares of common stock, in exchange for 30,700 shares of the common stock of C.I.T.  Petitioner owned 11,109 shares of the common stock and Louis Bachmann, his family, and Bachmann Co. owned most of the preferred stock.  The closing date was fixed as "not later than the 30th day of September, 1936." The C.I.T. shares were to be either treasury stock or "newly issued stock added to the list of the New York stock exchange, or both * * *", as should be determined by C.I.T.  If at the closing*690  the requirements of the Securities Act, the requirements of the Securities Exchange Act, or the listing on the New York Stock Exchange should not have been completed, then C.I.T. was to deliver to B.E. stockholders its obligation to deliver such C.I.T. shares as soon as such requirements had been completed.  Petitioner and the other B.E. stockholders were to make no public offering of the C.I.T. shares, but were to hold them "as an investment." The plan of reorganization attached to and incorporated in the contract of September 18, 1936, stated that C.I.T. was desirous of acquiring all of the outstanding capital stock of B.E. so that it might continue to operate as a going business the factoring business of B.E., which was similar to that of certain subsidiaries of C.I.T., and that the stockholders of B.E. were "desirous of maintaining a continuing interest in the business theretofore conducted by B.E. through receiving shares of common stock of C.I.T." The basis for the exchange was specified, and, under the general subheading of "Procedure", it was stated: (2) Upon the consummation of the above exchange of C.I.T.  Shares for B.E. shares, C.I.T. through the ownership of all the*691  capital stock of B.E. shall continue to operate the business heretofore conducted by B.E.  (3) Upon receipt by the stockholders of B.E. of the C.I.T.  Shares in the above described exchange, the said stockholders shall make no public offering of the C.I.T.  Shares but shall hold the same as an investment.  The agreement was carried out in 1936.  The stockholders of B.E. delivered their shares to C.I.T. and it, on September 30, 1936, formally acknowledged its obligation to deliver the 30,700 shares of common stock of C.I.T. as soon as the requirements as set forth in the contract should have been completed.  In the letter in which the formal acknowledgment was made it is stated: "* * * you respectively *448  as recipients of said common stock of C.I.T. in the respective amounts shown on * * * [the exhibit attached] shall from the date hereof, with respect thereto, have all of the rights as holders of the respective amounts of the common stock C.I.T. set forth opposite your names * * *." Under the plan petitioner became entitled to receive 5,864 shares of C.I.T. stock and certificates aggregating that number of shares were issued in her name on December 31, 1936.  She immediately*692  transferred 701 shares to Haiblum and Goldblatt.  She also turned over to them the dividends paid to her in 1936 on the 701 shares, aggregating $751.25.  Incorporated in the agreement of September 18, 1936, was an agreement under which Goldwasser was to be employed as an executive of B.E. at a salary of $30,000 per annum plus an amount equal to 3 percent of the net profits of the company after deducting all losses and 7 percent of the average capital, surplus and reserves.  The employment contract covered a three-year period terminating December 31, 1939.  The agreement provided that if B.E. should consolidate or merge with or transfer all or a substantial part of its assets to another corporation owned or controlled by the then owner of its capital stock - "all of which it shall have the right to do" - or if B.E. should acquire the capital stock or a substantial part of the business or assets of another corporation or firm, then and in that event the arrangement for additional compensation should terminate.  The employment contract referred to in the preceding paragraph was never signed by Goldwasser.  Under date of January 1, 1937, after the assets of B.E. had been taken over*693  by Emmerich as hereinafter related, Factors, which at that time owned all of the preferred stock of Emmerich, entered into a contract with Goldwasser quite similar in terms to the employment contract referred to in the agreement of September 18, 1936, this contract providing for a salary of $30,000 per annum and 1 percent of the net profits of the company after deducting losses and 7 percent of the average capital, surplus, and reserves.  Under date of September 18, 1936, C.I.T. wrote Louis Bachmann, president of Bachmann Co., proposing the unconditional guarantee by him that B.E. had filed all tax returns and reports required by state and Federal law and that it was under no liability in respect to the years or periods covered by said returns and reports in excess of the reserves for taxes and contingencies shown in an exhibit attached to the agreement of September 18th.  The letter recited that it confirmed certain understandings of the parties, and made specific reference to a contemplated change in the status of B.E. in the following language: *449  We will cause B.E. to transfer in 1936 its assets (excluding dividends described above), subject to its liabilities, to*694 Emmerich, the latter being a subsidiary of Factors, one of our subsidiaries, and to issue stock of Emmerich in exchange for the net assets.  We may, if we so desire, dissolve B.E. prior to December 31, 1936.  The letter eas signed by Bachmann and became a contract between him and C.I.T.  In a letter signed by Goldwasser, bearing date of September 18, 1936, and addressed to C.I.T., he made reference to: (a) the proposed agreement of September 18, 1936, to which his wife, petitioner herein, was to be a party; (b) a proposed guaranty to be executed by Louis Bachmann "as an inducement to you to enter into the agreement with the stockholders of B.E."; (c) the employment contract referred to above which was to be executed by him; and (d) the fact that he was to receive an option on certain C.I.T. shares.  He incorporated in his letter all of the instruments referred to and unconditionally guaranteed "the full and complete performance" of the covenants, guaranties and agreements contained in the several documents.  At the first regular meeting of the board of directors of C.I.T. after September 30, 1936, held on October 22, 1936, resolutions were adopted authorizing the recapitalization*695  of Emmerich and the acquisition by it of the assets of B.E. in exchange for common stock of Emmerich.  A plan was adopted for the liquidation of B.E. on or before December 31, 1936.  It provided that upon the liquidation of B.E., C.I.T. would surrender all of the stock of B.E. for cancellation and receive the common stock of Emmerich, which had been given to B.E. in exchange for its assets.  This plan was accepted by the directors of B.E. on November 23, 1936, and by its stockholders on the next day.  It was carried out and B.E. was dissolved December 31, 1936.  The provision obligating the stockholders of B.E. to make no public offering of the C.I.T. shares received in the exchange was inserted to avoid registration under the Securities Act of 1933.  The stock was registered under the Securities Act of 1934 and listed on the New York Stock Exchange.  Petitioner did not dispose of any of the 5,163 shares of C.I.T. stock owned by her on January 1, 1937, within the next two years thereafter.  The prices at which the common stock of C.I.T. sold on the New York Stock Exchange were as shown below: YearMonthDayShares soldHighLow1936September303,0008381 1/21936December311,6007776 1/41937September3055 1/254 1/41937December313736 1/4*696 *450  The market reflected the investment position of the common stock and the earning power of the corporation.  During the period from 1924 to 1936 C.I.T. had built up its business and earning power to such an extent that it did not reduce the dividend rate paid to common stockholders during the depression.  In 1932 it paid larger dividends than it had paid in 1929 when business was at a peak.  In 1934 its earnings were substantially larger than they were in 1929, and in that year it was able to pay a stock dividend of 25 percent.  In 1936 its business had increased to an extent sufficient to enable it to pay another stock dividend of 20 percent.  Its earning power compared favorably with other corporations engaged in a similar business and having comparable capital structures.  The fair market value of C.I.T. common stock on December 31, 1936, was $68 per share and the fair market value of the 5,163 shares received by petitioner on that date was $351,084.  The fair market value on September 30, 1936, of petitioner's right to receive 5,163 shares of C.I.T. stock on December 31, 1936, was not in excess of the fair market value of such stock on the latter date.  The 3,436*697  shares of B.E. stock, which petitioner acquired as a gift from her husband, had been held more than two years but less than five years when given up in exchange for C.I.T. stock.  Petitioner did not report any gain from the acquisition of the C.I.T. stock in her return of income for the year 1936.  The Commissioner determined that she received 5,864 shares of C.I.T. stock having a value of $82.25 per share, or $502,313.99.  He allocated the amount between the 3,436 shares acquired by Goldwasser in 1931 without cost and the 7,673.1 shares purchased by petitioner for $38,365.50.  He concluded that the disposition of the 3,436 shares resulted in a profit of $149,179.29, 60 percent of which, or $89,507.57, was taxable as capital gain.  Deducting the cost of the shares purchased from the fair market value of the allocable portion of the C.I.T. stock received, he determined that a taxable profit of $294,769.20 had been derived from the exchange of the shares which had been purchased.  He accordingly held that petitioner had a total taxable capital gain of $384,276.77.  OPINION.  MELLOTT: The contract of September 18, 1936, embodied a "plan of reorganization" under the terms of which*698  C.I.T. acquired all the stock of B.E. in exchange for 30,700 shares of its common stock.  The plan was carried out and petitioner received common stock of C.I.T. in exchange for her common stock in B.E.  In her income tax return for 1936 petitioner treated the C.I.T. stock as received in a tax-free exchange under section 112(b)(3) of *451  the Revenue Act of 1936. 2 Respondent determined that C.I.T. was not a "party to a reorganization." He therefore treated the exchange as a transaction giving rise to gain or loss and the stock received by petitioner as "other property" within the meaning of the statute. 3*699  Petitioner contends that there was in fact a reorganization within the meaning of section 112(g)(1)(B) of the Revenue Act of 1936 4 in pursuance of the plan of reorganization included in the contract of September 18, 1936; that this reorganization was complete within itself and duly carried out according to its terms; that C.I.T. was a party to it; and that the exchange of stock for stock is whinin section 112(b)(3), and hence no gain or loss is to be recognized.  Respondent contends that the plan of reorganization embodied in the contract of September 18, 1936, was not, in fact, the whole plan of reorganization; that the entire plan of reorganization included not only the exchange of all the stock of B.E. for common stock of C.I.T., but the transfer of the assets of B.E. to Emmerich for the common stock*700  of Emmerich and the dissolution of B.E. within the year 1936; that this plan was carried out and C.I.T. surrendered for cancellation all the B.E. stock which it had received in exchange for 30,700 shares of its common stock and received, upon the dissolution of B.E. the Emmerich stock which B.E. had received in exchange for its assets; that under these facts C.I.T. was not "a party to a reorganization"; and that the transaction under which petitioner acquired the common stock of C.I.T. was not a tax-free exchange.  *452  Both parties cite and discuss upon brief ; ; , affirming ; certiorari denied, ; and ; affirmed per curiam June 19, 1942.  The facts and the basic principles of the Groman and Bashford cases need be examined only briefly.  In each there was a transfer of stock or assets by one or more corporations to a subsidiary of another corporation in exchange for stock of the subsidiary, *701  stock of its parent, and cash.  It was held that the stock of the parent was "other property" because the parent was not "a party to a reorganization." The Court emphasized that the required continuity of interest was lacking and that the parent corporation in each instance was but a mere instrumentality through which a corporate reorganization was effectuated.  These cases and others were discussed by the court and the Board in the Anheuser-Busch case, supra, and conclusion was reached that, since the sole object and accomplishment of the plan there under consideration required the transfer of the assets and business of a subsidiary of the taxpayer to a subsidiary of the other party, the other party was not "a party to a reorganization" and hence the realized gain must be recognized.  The plan which was before the court and the Board in the Anheuser-Busch case was in writing and contemplated that a subsidiary of Borden, the other corporation, would be organized to take over the assets of the taxpayer's subsidiary and the taxpayer was required to co-operate in carrying out this plan.  The contract, said the court, "negatived any purpose to retain that continued interest*702  required in a merger." The precise question now before us was not directly in issue.  It was suggested in the Board's opinion, however, (l.c. 1107) that if the transfer to the subsidiary had occurred after "a significant interval", the question "might then arise as an issue of fact whether the subsequent transfer was part of the effectuation of the plan of reorganization or independent of it." Subsequently, in , we were called upon to determine substantially the same question as that suggested above, although the situation was "reversed as to the order of the transfers." The transfer had been made to a subsidiary in the first instance; but looking at the whole plan we decided that it "contemplated a merger of the two enterprises rather than the conduct of the acquired business by the vanishing subsidiary, and that it envisaged a continuity of interest in the merged enterprise on the part of those in receipt of its securities." The Circuit Court of Appeals for the Second Circuit affirmed per curiam on the authority of the Groman and Bashford cases.  *453  The cited cases indicate and counsel seem to agree that our question*703  is largely one of fact.  If, as petitioner contends, the "plan" was limited to the acquisition of the C.I.T. stock by B.E.'s stockholders and the acquisition of B.E. stock by C.I.T., then petitioner must prevail.  But if the plan contemplated the liquidation of B.E., following a temporary holding of the B.E. stock by C.I.T., then respondent's determination must be upheld.  The evidence indicates and we think it must be found that prior to the execution of the agreement of September 18, 1936, it was contemplated that C.I.T., as the sole stockholder of B.E., would cause B.E. to transfer all of its assets, subject to its liabilities, to Emmerich, a subsidiary of its wholly owned subsidiary, Factors, and would then dissolve B.E.  This plan is evidenced by several circumstances, among others the "guarantee" letter written by C.I.T. and confirmed by Louis Bachmann, which refers to the agreement of September 18, 1936, as "our proposed agreement with the stockholders of B.E. which we will execute in consideration of your executing this agreement, to be dated September 18, 1936." This letter states: "Subsequent to our acquisition of the stock of B.E. under The Agreement * * * We will*704  cause B.E. to transfer in 1936 its assets (excluding dividends described above), subject to its liabilities, to Emmerich, the latter being a subsidiary of Factors, one of our subsidiaries, and to issue stock of Emmerich in exchange for the net assets.  We may, if we so desire, dissolve B.E. prior to December 31, 1936." The resolutions of the board of directors of C.I.T., adopted October 22, 1936, at the first meeting of the board following the acquisition of the B.E. stock providing for the immediate liquidation of B.E., support the view that this was an integral part of the whole plan.  Finally, the steps which were taken indicate quite clearly a plan existed from the beginning under which they were to be taken.  These steps were: first, the exchange of all the stock of B.E. for 30,700 shares of C.I.T.; second, the transfer of the assets of B.E. to Emmerich in exchange for its common stock; third, the surrender for cancellation of all the shares of B.E. by its sole stockholder, C.I.T.; and, fourth, the receipt by C.I.T. of the remaining property of B.E., consisting of common stock of Emmerich.  Petitioner argues that there is no evidence the two letters or the corporate resolutions*705  were any part of the plan of reorganization; that the latter show the transfer of the B.E. assets was made three months after the reorganization of C.I.T. and B.E. and the exchange of petitioner's stock; that both she and her husband testified they understood B.E. was to continue in existence and Goldwasser was to remain its president; that this was petitioner's "main concern" and it is inconceivable she would have consented to a plan of reorganization which embodied the dissolution of her husband's company and *454  the transfer of its assets; and that the record bears out her contention the whole plan of reorganization was contained in the signed document bearing that label.  This argument has been considered, but we do not believe that the ultimate finding requested can be made.  No attempt will be made to set out all of the evidence which, it is felt, impels the opposite conclusion.  Suffice it to point out that the letters were obviously deemed to be a prerequisite to C.I.T.'s participation in the plan, and that the corporate resolutions liquidating B.E. were promptly adopted and carried out during the taxable year, that Goldwasser carried on all the negotiations leading*706  up to the exchange as petitioner's agent and also represented B.E. as its president, that he, as president and a director of B.E., joined in the adoption of the necessary resolution to liquidate B.E., that in spite of the testimony referred to Goldwasser did not sign the proposed contract of employment but waited until B.E. was liquidated and then entered into a contract with Factors, and that the whole record clearly indicates the plan embraced all of the steps precisely as they were carried out.  We hold that the exchange of petitioner's B.E. stock for stock in C.I.T. was not made in pursuance of a plan of reorganization in which C.I.T. was a party and the respondent did not err in holding that the realized gain must be recognized.  The next question is the fair market value of the property received by petitioner.  Respondent requests that we find petitioner acquired, on September 30, 1936, a "right" to receive 5,864 shares of C.I.T. stock, that this "right" had a fair market value of $482,314 when received, and that the 5,864 shares when received on December 31, 1936, had a fair market value of $445,000.  The requested findings can not be made.  For reasons which will be set out*707  later, conclusion has been reached that petitioner received only, 5,163 shares and that she never had any right to receive more.  These shares have been found to have had a fair market value of $68 per share on December 31, 1936, or a total value of $351,084.  Finding has also been made that the fair market value on September 30, 1936, of the right to receive the shares was not in excess of the fair market value of the shares on December 31, 1936.  This finding accords with the testimony of respondent's principal witness.  He expressed the opinion that "there was no important difference between the two dates, the vital difference being that the market for the stock declined somewhat during the three months period" and that the right to receive the stock should be evaluated by applying "a discount of about 7 1/2% to the quoted market price of the stock as of September 30, 1936." This resulted in a figure of $445,000, as the value on each date, which is approximately equal to the price at which the stock was selling on the latter date.  *455  In view of the conclusion which has been reached, that the value of the stock and the right to receive it were the same, we deem it unnecessary*708  to decide which date is applicable, since they are both within the taxable period.  We pass, then, to a brief discussion of the value found by us.  The evidence of value consists of market quotations and the testimony of two witnesses called by the respondent as experts.  The quotations cover the period from August 1936 to the end of the year 1938.  Those particularly relied upon by the petitioner - and this is the sole evidence introduced by her on this phase of the controversy - are September 30, 1937, and December 31, 1937.  Respondent relies chiefly on those of September 30, 1936, and December 31, 1936.  Petitioner's theory is that the provision of the contract of September 18, 1936, prevented her from making a sale of the stock earlier than December 31, 1937 - in the alternative September 30, 1937 - and that therefore the fair market value of the stock on that date, equivalent to the mean of the high and low quotations, should be used in computing her gain, if any.  Respondent contends that the fair market value of the stock on December 31, 1936, or of the right to receive it on September 30, 1936, must be used in computing petitioner's gain - a view which we share - and that*709  this must be determined either upon the market quotations of those dates or upon the testimony of his witnesses.  Complete rationalization of the value determined by us of $68 per share can not be made.  "In matters so practical as the administration of tax laws and in the decision of problems connected with them, a high degree of precision is often impossible to achieve." Sometimes "an approximation derived from the evaluation of elements not easily measured" must be made.  ; cf. ; ; . Some of the evidence upon which the finding has been based may, however, be alluded to briefly.  The quotations during the last five months of 1936 range from a high of 91 5/8 to a low of 74 1/2, the average being around 82 or 83.  The low is reached near the end of the year.  The value requested by the respondent of the right to receive the stock is equivalent to the mean of the high and low on September 30, 1936, or 82*710  1/4.  His witnesses refused to accept this as the true value and he presents no convincing argument why we should do so.  Their estimate of the value of the shares on December 31, 1936, is, of course, a circumstance to be considered by us, though it is not controlling.  The record clearly indicates it was bottomed very largely upon the market quotations.  Indeed the witness who testified at length (one merely gave his conclusion as to value) stated under cross-examination *456  that the value fixed by him had been "based on the New York Stock Exchange quotations merely rounding off the New York Stock Exchange to a round sum of money." While the price at which shares of stock are bought and sold on the open market is frequently the best evidence of their value, it is not always the sole criterion to be used.  The evidence indicates that C.I.T. compared very favorably with companies doing a similar business.  Its earnings were high, its dividend record good even throughout the depression, and its business had so increased during 1936 that it was able to pay a stock dividend of 20 percent.  Those facts, together with the quotations and the testimony of respondent's witnesses, *711  would seem to dictate that a value closely approximating the one requested by the respondent should be found.  There are other facts, however, which materially affect the question.  One is the provision of the contract requiring that petitioner make no public offering of the stock but hold it "as an investment." In considering the effect of this provision reference must also be made to the fact that most of petitioner's certificates were for 1,000 shares each and were in the form of "less than 100 share certificates", surcharged to show a larger size unit, which, under a ruling of the stock exchange, could not be transferred merely by delivery.  Petitioner contends that the effect of the provision referred to was to restrict her in the sale of the stock.  She cites ; , and other cases holding that stock subject to a restrictive agreement preventing its sale has no fair market value.  She does not contend that the stock received by her had no fair market value, but only that the fair market value was not in excess of the price at which the stock was quoted on*712  the New York Stock Exchange at the end of the restrictive period, citing . Respondent argues that, since the evidence clearly indicates that the provision was inserted in the contract for the purpose of eliminating the necessity for registration under the Securities Act of 1933, it should be construed in the light of the requirements of that act.  This, he insists, justifies a holding that the whole phrase describes a mere present intention of petitioner and does not in anywise circumscribe her future course of conduct.  He argues that the provision prohibiting petitioner from making a public offering would not restrict her right to sell it at a private sale, to give it away, to use it to pay her debts, or to put it up as collateral for a loan.  He also contends that her right to sell to the public, through brokers or on the stock exchange, depended only "upon the honesty of the intent with which she received it and an honest change in that *457  intent." He concludes: "The most that can be said is that had she attempted to make a public offer, she might have had some difficulty in persuading others of her*713  honesty; and that thus her freedom of disposition was somewhat narrowed." Petitioner insists that she would have violated her contract with C.I.T. if she had sold the shares and that C.I.T. was in a position to take effective action either against her or against her husband if she had attempted to do so.  In this connection she points out that an attempted sale by her would immediately have come to the knowledge of C.I.T. because of the fact that the certificates were surcharged and, unless she lived up to her agreement, that the relations between her husband and C.I.T. "would have been seriously prejudiced, perhaps even to the extent of a termination of the employment." While we are of the opinion that the provision did not constitute a restrictive covenant preventing petitioner from disposing of the stock if she had seen fit to do so, we think it did have the effect of depressing the market for her particular shares.  This can only be approximated; for it is an "element not easily measured." Considering the fact that the shares could have been disposed of in the manner suggested by the respondent, including a private sale, we have concluded that their actual fair market value*714  was somewhat less than the price at which they could have been sold on the open market on the date actually received.  This amount is not greatly in excess of the price at which they could have been disposed of on September 30, 1937, one year after the right to receive them under the contract of September 18, 1936, became vested.  The next question requires determination of the holding period of the 3,436 shares of B.E. stock received by petitioner as a gift from her husband in june of 1936.  Finding has been made that Goldwasser received the certificates for the 3,346 shares "toward the end of the year 1931." The evidence shows he accepted the offer to become an officer of B.E. in July 1931, but did not resign his position with Factors until October 15, 1931, on which date he became president of B.E.  Petitioner contends that Goldwasser acquired the shares in July 1931, at the time the offer was accepted.  She argues that the stock "constituted compensation constructively received in July, 1931." We do not agree.  Goldwasser continued in the employ of Factors until October 15, 1931.  His compensation as president of B.E. began at that time.  To hold that he was constructively*715  in receipt of compensation prior to that date would be carrying the doctrine of constructive receipt too far.  The stock was thought to have, and evidently did have, no value.  Goldwasser, testifying as a witness, stated that Bachmann wanted *458  to give him as much of the common stock as he wished and that he should take whatever he wanted and whenever he wanted it.  Apparently he took none until toward the end of the year 1931, the precise date not being shown in the evidence.  Respondent determined that the 3,436 shares had been held for more than two years but for less than five years.  Petitioner undertook to show that it had been held for more than five years.  In our judgment she has not sustained her burden of proof.  Respondent's determination upon this issue therefore must be, and it is, upheld. The fourth question is whether, in computing petitioner's gain, the value of the 701 shares of C.I.T. stock, which petitioner immediately transferred to Haiblum and Goldblatt, should be included in her gross income.  We have found that it should not be.  Respondent's contention is that petitioner either used some of her stock to pay an obligation of herself or of another, *716  or disposed of it by gift.  If this were true then the value of such stock must be included in her gross income.  ; ; cf. ; ; affd., ; . The question is one of fact.  The evidence is to the effect that the stock in question was given to Haiblum and Goldblatt for services rendered to Bachmann Co. and B.E. in working out certain details of the reorganization; that they performed no services for petitioner personally; that both she and her husband, who represented her in the negotiations with C.I.T., understood that she was to receive a number of shares less than the number allocated to her B.E. stock and that Haiblum and Goldblatt were to receive the difference as compensation for their services; and that this agreement was carried out.  It is true, as respondent points out, that there is nothing in the record to explain why the 701 shares were not issued directly to Haiblum and Goldblatt.  Obviously, *717  however, it was to the interest of C.I.T. that these gentleman be paid; for it was assuming all of B.E.'s liabilities.  Since a substantial portion of the B.E. stock owned by petitioner had been a gift from B.E. to her husband, it is readily understandable that an agreement should have been reached to reduce the shares of C.I.T. which she would receive on the exchange rather than to duduct a part of the 701 shares from the shares to be received by other stockholders.  That, in effect, was the testimony.  The circumstances pointed out above and the fact that the value of the 701 shares of stock was approximately $47,000 incline us to the opinion that petitioner was not discharging a personal obligation when she transferred the 701 shares to Haiblum and Goldblatt, nor was she paying the obligation of another or making a gift.  the *459  transfer to them was a part of the whole plan, though not specifically set out therein.  In other words, petitioner was a mere conduit through which the 701 shares passed to Haiblum and Goldblatt for services rendered to Bachmann Co. and B.E.  We have therefore concluded and now hold that the only stock petitioner received over which she could exercise*718  absolute dominion and control was 5,163 shares.  Only the fair market value of these shares constituted income to her.  Cf. ; ; affd., . The last question is whether the December 1936 dividend of $751.25 on the 701 shares of C.I.T stock turned over to Haiblum and Goldblatt consituted gross income to petitioner.  In view of the conclusion reached upon the preceding issue it is unnecessary to discuss this at any length.  The dividends belonged to the owners of the shares.  Respondent erred in including them in petitioner's gross income.  Upon brief respondent contends that if the value of the 701 shares is not to be included in petitioner's gross income then holding should be made that those shares came out of the ones received by petitioner in exchange for the 3,436 shares.  He bases this upon the assumption that petitioner, in effect, had given Haiblum and Goldblatt a portion of her B.E. stock, that they had caused it to be transferred in exchange for C.I.T. stock, and, since no actual designation had been made by her of the shares given up, "her transfer*719  to the attorneys and accountant was out of her first receipts." We have concluded that petitioner became the owner of only 5,163 C.I.T. shares as a result of the exchange of her B.E. shares and that she was a mere conduit through which the 701 shares were delivered in payment of an obligation of B.E.  This, we believe, is justified under the evidence.  It follows, therefore, that an allocation of petitioner's profit on the exchange should be made in substantially the manner set out in the notice of deficiency.  Decision will be entered under Rule 50.Footnotes1. ↩Commercial Investment Trust Corporation"C.I.T."Wholly owned subsidiary of C.I.T., Commercial Factors Corporation"Factors"Subsidiary of Factors, Bachmann-Emmerich Factors Corporation"Emmerich"Bachmann, Emmerich &amp; Co. Inc"B.E."L. Bachmann &amp; Co"Bachmann Co."2. SEC. 112.  RECOGNITION OF GAIN OR LOSS.  * * * (b) EXCHANGES SOLELY IN KIND. - * * * (3) STOCK FOR STOCK ON REORGANIZATION. - No gain or loss shall be recognized if stock or securities in a corporation a party to a reorganization are, in pursuance of the plan of reorganization, exchanged solely for stock or securities in such corporation or in another corporation a party to the reorganization.  ↩3. SEC. 111.  DETERMINATION OF AMOUNT OF, AND RECOGNITION OF, GAIN OR LOSS.  * * * (b) AMOUNT REALIZED. - The amount realized from the sale or other disposition of property shall be the sum of any money received plus the fair market value of the property (other than money) received.  SEC. 112.  RECOGNITION OF GAIN OR LOSS.  * * * (c) GAIN FROM EXCHANGES NOT SOLELY IN KIND. - (1) If an exchange would be within the provisions of subsection (b)(1), (2), (3), or (5) of this section if it were not for the fact that the property received in exchange consists not only of property permitted by such paragraph to be received without the recognition of gain, but also of other property or money, then the gain, if any, to the recipient shall be recognized, but an amount not in excess of the sum of such money and the fair market value of such other property. ↩4. * * * (1) The term "reorganization" means * * * (b) the acquisition by one corporation in exchange solely for all or a part of its voting stock: of at least 80 per centum of the voting stock and at least 80 per centum of the total number of shares of all other classes of stock of another corporation; or of substantially all the properties of another corporation * * *. ↩